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ATTORNEYS FOR FORD MOTOR CREDIT COMPANY LLC

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

IN RE:                                     §
                                           §
REAGOR-DYKES MOTORS, LP                    §       CASE NO. 18-50214-RLJ-11
                                           §
                                           §
DEBTOR(S)                                  §

                      NOTICE OF APPEARANCE AND REQUEST
                            FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that BOERNER, DENNIS & FRANKIN, PLLC, by and

through the undersigned, hereby makes an appearance on behalf of FORD MOTOR

CREDIT COMPANY LLC ("FMCC") and pursuant to Federal Rules of Bankruptcy

Procedure 2002, 3017, 9007, and 9010 and 11 U.S.C. § 1109(b), requests that copies of

any and all notices, pleadings, motions, orders to show cause, applications, presentments,

petitions, memoranda, affidavits, declarations, orders, disclosure statements and plans of

reorganization, or other documents, filed or entered in this case, be transmitted to:

Mark W. Harmon
BOERNER, DENNIS & FRANKLIN, PLLC
P. O. Box 1738
Lubbock, Texas 79408
E-mail: mwharmon@bdflawfirm.com




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       PLEASE TAKE FURTHER NOTICE that the foregoing request includes, without

limitation, motions, applications, complaints, demands, notices of motions, notices of

applications, notices of hearing, petitions, objections, answers, responses, replies, claims,

schedules, statements, operating reports, plans, disclosure statements, and all other

pleadings, requests or notices, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, other commercial carrier, hand delivery,

facsimile, telegraph, telex, e-mail, telephone or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance shall neither

constitute nor be deemed or construed as FMCC's:

       (a)    waiver of the right to have final orders in non-core matters entered only after

              de novo review by the United States District Court;

       (b)    waiver of the right to trial by jury in any proceeding to which such right exists

              in the Bankruptcy Case or in any case, controversy, or proceeding related to

              the Bankruptcy Case;

       (c)    waiver of the right to have the United States District Court withdraw the

              reference in any matter subject to mandatory or discretionary withdrawal;

       (d)    waiver of the right to contest jurisdiction or appropriate venue in the

              Bankruptcy Case or in any related proceeding; or

       (e)    waiver of any other rights, claims, actions, defenses, setoffs or recoupments

              which FMCC has or may hereafter obtain, in law or in equity, all of which

              rights, claims, actions, defenses, setoffs and recoupments FMCC hereby

              expressly reserves.




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                                    Respectfully submitted,

                                    /s/ Mark W. Harmon
                                    __________________________________________
                                    Mark W. Harmon
                                    State Bar No. 09020840
                                    ATTORNEYS FOR FMCC
                                    BOERNER, DENNIS & FRANKLIN, PLLC
                                    P.O. Box 1738
                                    Lubbock, Texas 79408
                                    Phone: (806) 763-0044
                                    Fax: (806) 763-2084
                                    E-mail: mwharmon@bdflawfirm.com

                               CERTIFICATE OF SERVICE

       I, Mark W. Harmon, hereby certify that on this 7th day of August, 2018, a true and
correct copy of the above and foregoing instrument has either been served electronically
or by United States mail, postage prepaid, to each of the following listed parties:

United States Trustee
Room 976
1100 Commerce Street
Dallas, Texas 75242

David R. Langston
Brad W. Odell
Mullin Hoard & Brown, L.L.P.
P.O. Box 2585
Lubbock, Texas 79408

All parties in interest registered with
the U.S. Bankruptcy Court to receive
electronic notices in this case.


                                           /s/ Mark W. Harmon
                                           _____________________________________
                                           Mark W. Harmon




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